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                   Order IN THE UNITED STATED DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

SECURITIES AND EXCHANGE COMMISSION                           §
Plaintiff,                                                   §
                                                             §
                                                             §
                                                             §
v.                                                           §    Civil Action No. 4:11-cv-655
                                                             §
                                                             §
JAMES G. TEMME, and                                          §
STEWARDSHIP FUND, LP,                                        §
Defendants.                                                  §

ORDER GRANTING RECEIVER’S AMENDED THIRD INTERIM APPLICATION TO
   ALLOW AND PAY PROFESSIONAL FEES TO GREG T. MURRAY, PLLC


       CAME ON FOR CONSIDERATION the Receiver’s Amended Third Interim Application

to Allow and Pay Professional Fees to Greg T. Murray, PLLC (the “Application”), which

requests reimbursement for fees incurred for the time period from January 1, 2014 through July

31, 2015. The Receiver seeks to pay Greg T. Murray, PLLC total compensation of $14,395.78,

constituting $13,975.00 in fees and $420.78 in expenses.

       No opposition has been filed to this Application. Counsel for the Commission has

reviewed the fee application and been afforded the opportunity to object, but does not object to

the relief sought. Based upon a review of the Application and the pleadings on file, the Court

finds and concludes that (a) the relief requested in the Application is in the best interests of the

Receiver and his receivership estates; (b) proper and adequate notice of the Application has been

given and that no other or further notice is necessary; and (c) good and sufficient cause exists for

the granting of the relief requested in the Application after having given due deliberation upon




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    the Application and all of the proceedings had before the Court in connection with the

    Application. Therefore, it is hereby ORDERED that:

.          i.     The Application is GRANTED.

           ii.    Receiver is authorized to pay Greg T. Murray, PLLC total compensation of

    $14,395.00, constituting $13,975.00 in fees and $420.00 in expenses incurred for the time period

    from January 1, 2014 through July 31, 2015
           SIGNED this 2nd day of October, 2015.




                                        ___________________________________
                                        AMOS L. MAZZANT
                                        UNITED STATES DISTRICT JUDGE




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